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 8
                          SUPERIOR COURT OF THE STATE OF ARIZONA
 9
                                          COUNTY OF MARICOPA
10
11   Julie McCollum,                                     No.

12                           Plaintiff,
13                                                       COMPLAINT
                 v.
14
15   O.P.E.N. America, Inc., an Arizona
     corporation d/b/a OpenWorks,
16
17                           Defendant.

18
19               Plaintiff, for her cause of action against Defendant O.P.E.N. America, Inc. d/b/a
20
     OpenWorks, hereby alleges:
21
                                          GENERAL ALLEGATIONS
22
                                           (Parties and Jurisdiction)
23
                 1.    Plaintiff was a resident of Maricopa County, Arizona during all relevant times.
24
25               2.    Defendant O.P.E.N. America, Inc. d/b/a OpenWorks is an Arizona corporation
26
     authorized to and doing business in the State of Arizona.
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 1               3.   Defendant has committed actions and caused events to occur in Maricopa
 2
     County, Arizona, which are the foundation of this action and out of which this action arises.
 3
                 4.   This Court has jurisdiction pursuant to 28 U.S.C. § 1331, 28 U.S.C. §
 4
 5   1343(a)(4), 29 U.S.C. § 626, and 42 U.S.C. § 2000e-5.
 6               5.   Venue is proper under 28 U.S.C. § 1391 because the acts detailed in this
 7
     Complaint occurred within the District of Arizona.
 8
 9                                           (Nature of Action)
10               6.   This is an action brought by Plaintiff to vindicate violations of Title VII of the
11
     Civil Rights Act, as amended (“Tile VII”) and the Age Discrimination in Employment Act,
12
13   as amended (“ADEA”).
14                                             (Jury Demand)
15
                 7.   Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff demands
16
17   a jury trial.
18                       FACTS COMMON TO ALL CLAIMS FOR RELIEF
19
                 8.   Plaintiff was employed by Defendant as the Chief Financial Officer from
20
21   October 2014 until December 2018. Prior to working for Defendant, Plaintiff spent fifteen
22   (15) years as a finance executive and had nearly thirty (30) years of experience in
23
     accounting.
24
25               9.   Beginning in 2017, Defendant’s CEO, Eric Roudi, became openly hostile to
26   Plaintiff and interfered with her ability to perform her job, such as by refusing to let her
27
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 1   speak during executive meetings, holding impromptu meetings that interfered with her
 2
     deadlines, and moving her administrative support team under the male HR Director.
 3
                 10.   During a meeting in August 2018, Mr. Roudi banged his fists on the table and
 4
 5   screamed at Plaintiff and another female employee, “I will not have you two ganging up on
 6   me!” Approximately one week later, Mr. Roudi again had a disrespectful outburst directed
 7
     at Plaintiff during a meeting. Plaintiff complained to the HR director that Mr. Roudi was
 8
 9   creating a hostile working environment, but the HR Director dismissed her concerns.
10   Shortly thereafter, another female employee resigned due to Mr. Roudi’s discriminatory and
11
     abusive behavior.
12
13               11.   Because of Mr. Roudi’s ongoing rude and confrontational behavior, Plaintiff
14   asked him in approximately September 2018 if he was planning on firing her. Mr. Roudi
15
     assured Plaintiff that he was not and that she would have plenty of advance notice if he
16
17   intended to replace her. During this conversation, Ms. McCollum expressed her desire to
18   remain with the company at least through the end of 2019, which was when the company’s
19
     long-term incentive plan was on target to pay out.
20
21               12.   Plaintiff went on vacation in November 2018 and was due to return on
22   December 10, 2018. However, on December 9, 2018, Mr. Roudi informed Plaintiff that he
23
     had replaced her while she was gone, and the new CFO would be starting the following
24
25   week.
26
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 1               13.   The new CFO, Bryan McMahon, is a much younger male with approximately
 2
     fifteen (15) fewer years of experience than Plaintiff. He is also paid more to perform the
 3
     same functions that Plaintiff performed.
 4
 5               14.   Defendant hired Mr. McMahon instead of a female employee who had been
 6   working under Plaintiff and was more qualified than Mr. McMahon. The female employee
 7
     quit shortly after Mr. McMahon was hired.
 8
 9               15.   Plaintiff is damaged by the wrongful acts of Defendant and its agents as herein
10   alleged, which damage includes, without limitation, the following:
11
                       a.     Lost salary and employment benefits from the date of Plaintiff’s
12
13                            discharge and since her discharge;
14                     b.     Injury to Plaintiff’s long-term employment and career possibilities and
15
                              income potential flowing from the discriminatory and wrongful
16
17                            conduct by Defendant and its agents; and
18                     c.     Injury from humiliation, trauma, extreme stress, depression, and
19
                              physical and mental pain and anguish.
20
21               16.   The willful and wanton misconduct on the part of Defendant is such that it
22   justifies and award of liquidated and punitive damages.
23
                 17.   All jurisdictional prerequisites to Plaintiff filing suit have been met.
24
25               18.   All allegations of this Complaint are incorporated into each Claim for Relief.
26
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 1                                     FIRST CLAIM FOR RELIEF
                                     Sex Discrimination Under Title VII
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 3               19.   Plaintiff is a member of a protected class (female). The acts and conduct of
 4
     Defendant, as alleged above, were in violation of Title VII. Defendant terminated Plaintiff’s
 5
     employment because of her gender.
 6
 7               20.   Plaintiff is damaged by Defendant’s violations of Title VII as hereinabove
 8   alleged or as proven at trial.
 9
                                    SECOND CLAIM FOR RELIEF
10                             Age Discrimination in violation of the ADEA
11
                 21.   Plaintiff was terminated because of her age.
12
13               22.   At the time of her termination, Plaintiff was 56 years old and was replaced by
14   an employee believed to be in his early 40s who has substantially less experience than
15
     Plaintiff.
16
17               23.   Plaintiff is damaged by Defendant’s violations of the ADEA as hereinabove
18   alleged or as proven at trial.
19
                 WHEREFORE, Plaintiff requests judgment in her favor and against Defendant as
20
21   follows:
22               A.    For all injunctive and declaratory relief necessary, including a declaration that
23
                       Defendant’s conduct violated Title VII and the ADEA and enjoining
24
25                     Defendant from conduct violating Plaintiff’s rights;
26
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 1               B.    For actual, consequential and incidental damages as alleged herein or as
 2
                       proven at trial;
 3
                 C.    For liquidated and punitive damages;
 4
 5               D.    For Plaintiff’s attorneys’ fees and costs incurred in this matter pursuant to
 6                     Title VII and the ADEA and any other applicable statute, rule, or regulation;
 7
                 E.    For interest on each element of damage, cost, or attorneys’ fees at the highest
 8
 9                     legal rate from the date of such damage, cost, or attorneys’ fees was incurred
10                     until paid; and
11
                 F.    For such other and further relief as the Court deems just and proper.
12
13
                 DATED this 30th day of June, 2021.
14
15                                                    SHIELDS PETITTI, PLC

16                                                    By James Burr Shields
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